                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                 CRIMINAL NO. 1:04CR74-7


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               VS.                            )              ORDER
                                              )
                                              )
MICHAEL LEE WILSON                            )
                                              )


       THIS MATTER is before the Court sua sponte to amend the Judgment of Conviction

filed herein on June 15, 2005.

       During the sentencing hearing conducted on June 2, 2005, the Defendant objected to the

Court’s order that he reimburse the United States for the cost of his court-appointed attorney.1

The Defendant alleged that his only contact with his appointed counsel, David Belser, was during

a jail visit. The Court deferred placing this requirement in the Defendant’s judgment until a

review of Mr. Belser’s attorney voucher was conducted. After reviewing the relevant documents,

the Court finds that Mr. Belser represented the Defendant for only a short period of time,

however, the hours he requested for approval were appropriately billed. A copy of Mr. Belser’s

attorney voucher was provided to Defendant’s current counsel; Mr. Coleman has concurred with

the Court’s review and the accuracy of Mr. Belser’s billings.




       1
       Defendant’s court-appointed attorney David Belser was allow to withdraw after the
Defendant’s family retained private counsel, Calvin Coleman.


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       IT IS, THEREFORE, ORDERED that the Clerk prepare an amended judgment of

conviction including therein that the Defendant be required to reimburse the United States for the

cost of his court-appointed attorney in the amount of $720.

       The Clerk is directed to file the letter from Mr. Coleman to the Court.




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                        Signed: June 20, 2005




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